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                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                  No. 2:12-md-02323-
IN RE: NATIONAL FOOTBALL
LEAGUE PLAYERS’ CONCUSSION
                                                  AB MDL No. 2323
INJURY LITIGATION
                                                  Hon. Anita B. Brody
Kevin Turner and Shawn Wooden,
on behalf of themselves and
others similarly situated,
          Plaintiffs,

 v.

National Football League and
NFL Properties LLC,
successor-in-interest to
NFL Properties, Inc.,
          Defendants.


THIS DOCUMENT RELATES TO:
ALL ACTIONS


                           NOTICE OF CHANGE OF ADDRESS

        TO THE COURT, ALL PARTIES AND THEIR COUNSEL OF RECORD:

         PLEASE TAKE NOTICE of the following change of address and contact information

 for attorney Christopher A. Seeger:

        Seeger Weiss LLP

        55 Challenger Road, 6th Floor

        Ridgefield Park, NJ 07660

        Telephone (212) 584-0700

        Facsimile (212) 584-0799
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    All notices, filings and written communication regarding this action should be sent to the

    above noted address.




    Dated: March 12, 2018                              Respectfully submitted,

                                                       /s/ Christopher A. Seeger
                                                       Christopher A. Seeger
                                                       SEEGER WEISS LLP
                                                       55 Challenger Road, 6th Floor
                                                       Ridgefield Park, NJ 07660
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                                                       Co-Lead Class Counsel




 




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                                 CERTIFICATE OF SERVICE

It is hereby certified that a true and correct copy of the foregoing Notice of Change of Address

was served electronically via the Court’s electronic filing system upon all counsel of record in

this matter on March 12, 2018.

                                                    /s/ Christopher A. Seeger
                                                    Christopher A. Seeger




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